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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE                                         :
                                                      :
         Plaintiff                                    :              CIVIL ACTION NO.:
                                                      :              3:16-CV-00885-AVC
vs.                                                   :
                                                      :
YALE UNIVERSITY, ET AL                                :
                                                      :
         Defendants                                   :              MAY 17, 2018

                                      MOTION TO SEAL

         Pursuant to Rule 5(e)(4)(b) of the Local Rules of Civil Procedure for the District Court

for the District of Connecticut, the defendants hereby move to seal the Local Rule 56(a)(1)

statement filed with the defendants’ motion for summary judgment because it accidentally

includes a student’s name. (Docket Entry No. 142.) The defendant has filed a corrected Local

Rule 56(a)(1) in its place. Plaintiff’s counsel has no objection.



         WHEREFORE, the defendant respectfully requests that the motion to seal be granted.



                                                      THE DEFENDANTS


                                                 BY:___/s/ Patrick M. Noonan (#ct00189)__
                                                    Patrick M. Noonan
                                                    Colleen Noonan Davis (#ct27773)
                                                    Donahue, Durham & Noonan, P.C.
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                                                    Guilford, CT 06437
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.



                                                       _______________/s/________________
                                                        Patrick M. Noonan




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